            Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 1 of 8




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


ETTA FANNING,                                          §
             Plaintiff,                                §
                                                       §                     SA-18-CV-00803-XR
v.                                                     §
                                                       §
CITY OF SHAVANO PARK, TEXAS,                           §
             Defendant.                                §
                                                       §


                                                  ORDER

        On this date, the Court considered Plaintiff Etta Fanning’s Motion to Alter or Amend

Judgment (ECF No. 46), Defendant City of Shavano Park’s Response (ECF No. 47), and

Plaintiff’s Reply (ECF No. 48). For the reasons stated herein, Plaintiff’s motion is DENIED.

                                             BACKGROUND

        Plaintiff Etta Fanning (“Plaintiff”) sued Defendant City of Shavano Park, Texas (“City”),

alleging that the City’s Sign Code1 violated her rights under the First and Fourteenth

Amendments of the U.S. Constitution. The dispute arose out of the City’s removal of several of

Plaintiff’s banner and yard signs in her neighborhood, Bentley Manor, to promote a Fourth of

July “raincheck” party in late July 2018. The removed signs were: (a) banner signs hung on trees

at two gate exits of Bentley Manor, and (b) small yard signs that Plaintiff testified were placed

on the private property of three homeowners who had given her permission to do so. The City

Police Chief, Ray Lacy (“Chief Lacy”) removed the banner signs because they were on property

that is part of the public right-of-way, in violation of the general prohibition on banner signs in




1
 The City’s sign regulations are found in Chapter 24 of its Code of Ordinances. The Sign Code is attached in its
entirety at ECF No. 32-10.

                                                       1
            Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 2 of 8




the Sign Code Section 24-32 and outside of the temporal limitations allowing banner signs in

Code Section 24-7.3 Chief Lacy removed the yard signs because he believed they were “bandit

signs” posted without permission of the landowner4 in violation of Code Section 24-2.5

        Plaintiff, through her counsel, demanded the return of the signs. The City attorney

explained that the banner signs “were placed at the entrance of the subdivision on HOA owned

property…without HOA permission” and that banner signs “are allowed in residential districts

under very strict limitations concerning the time of year.” The City attorney also explained that

the confiscated yard signs “were on HOA owned property without permission and in violation of

the ordinance.” The City offered to return all signs to Plaintiff if the parties could agree that “(1)

Banners may not be placed at the entrance unless during the authorized period in October and by

the HOA,” and “(2) 18”x27” signs can be displayed for this event if solely on private residential

property with the property owner’s permission.” Plaintiff did not agree to these stipulations, the

signs were never returned, and Plaintiff filed this lawsuit on August 3, 2018.

        After filing suit, in July 2019 Plaintiff again planned for the annual Fourth of July party.

According to Plaintiff, she wanted to place banner signs on HOA property and received


2
  Code Section 24-3 makes all signs on private property unlawful unless they fall within one of several “non-
nuisance sign” categories laid out in the Code.
3
  Code Section 24-7 addresses “banner signs,” which are allowed subject to the following requirements:
    (1) Banner signs may be erected by property owners’ associations as defined by the Texas Residential Property
         Owners Protection Act.
    (2) Each property owner’s association may erect one banner sign at each entrance.
    (3) Each residential property owner may erect one banner sign.
    (4) No banner sign may be erected more than seven days prior to the first Tuesday in October.
    (5) Banner signs must be removed by 11:59 p.m. the day following the first Tuesday in October.
    (6) Banner signs on public property shall be governed by a separate City policy.
This Section 24-7 is referred to herein as “the banner sign limitation” and was the subject of Count I of Plaintiff’s
Complaint.
4
  Chief Lacy initially believed all three signs were posted on the public right-of-way without the permission of the
Bentley Manor Homeowners’ Association (“HOA”). He later discovered the third sign was in fact on a private
homeowner’s property and replaced that sign.
5
  Code Section 24-2 defines “bandit signs” as signs “erected without the written permission of the land owner.”
Section 24-13 of the Code provides that such signs “may be removed and discarded without notice.”

                                                         2
            Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 3 of 8




permission from an HOA representative to do so, but she could not place the signs because they

would have been in violation of the City’s Sign Code. The HOA also gave Plaintiff permission

to place yard signs allowable under the Sign Code on HOA property, which she did. Plaintiff

claimed that, in addition to desiring to put banner signs on HOA property with permission, she

desired the ability to place banner signs on her own property and on her neighbors’ property with

their permission to promote the Fourth of July party and other messages, but she has not done so

because it would violate the Sign Code.

        Plaintiff brought two challenges to the City’s Sign Code: she challenged the banner sign

limitation as a facially unconstitutional content-based speech restriction (Count I), and she

challenged the Code’s “one-sign limitation”6 as facially invalid and unenforceable as a content-

based speech restriction (Count II). Plaintiff and the City filed cross-motions for summary

judgment, and the Court heard oral argument on the motions on December 16, 2019.

        On December 19, 2019, the Court granted the City’s motion for summary judgment and

denied Plaintiff’s. ECF No. 44. The Court’s order granting summary judgment in favor of the

City found that Plaintiff lacked standing to challenge the Code’s one-sign limitation, and so

Count II of Plaintiff’s Complaint was dismissed. ECF No. 44 at 9–11. As to Plaintiff’s

challenge to the banner sign limitation in Count I, the Court found Plaintiff had adequately

alleged chilled speech to satisfy the standing requirement and proceeded to analyze her claim on

the merits. Id. at 8–9.

6
  Section 24-6(2) of the Sign Code allows one sign to be erected on each residential property that conforms to the
following requirements:
     a. The sign cannot be displayed in such a manner that it can be visibly viewed from the public right-of-way
         for more than 60 days per calendar year;
     b. The gross sign area shall not exceed six square feet in sign area including framing, trim and molding;
     c. The sign shall not be higher than six feet above grade;
     d. The sign shall not be placed on public property including a public easement or right-of-way; and
     e. The sign cannot be an illuminated or backlit.
This “one-sign limitation” allows one sign in addition to five other categories of “non-nuisance” signs found in
Section 24-6.

                                                        3
           Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 4 of 8




        First, the Court agreed with Plaintiff that the banner sign limitation was subject to strict

scrutiny under Reed v. Town of Gilbert because the restriction on speech could only be justified

by reference to content. Id. at 14–16. The Court explained that even though the banner sign

limitation is facially content-neutral, it is nevertheless subject to strict scrutiny:

        The Court is persuaded that the banner sign limitation at issue was motivated by
        content-based concerns. The tight one-week period where banner signs are
        allowed falls every year as the week before National Night Out, which is
        celebrated in the state of Texas on the first Tuesday of October… There can be no
        justification for the one-week exception to the general ban on banner signs
        without “reference to the content of the regulated speech”—that is, the one-week
        exception is so obviously related to National Night Out and cannot be justified
        without referencing that event.

Id. at 15 (citing Reed v. Town of Gilbert, 135 S.Ct. 2218, 2227 (2015)).

        Next, applying strict scrutiny to the banner sign limitation, the Court held that the City

had successfully shown the limitation was narrowly tailored to the City’s compelling interest in

aesthetics. ECF No. 44 at 16–18. The Court found that the purpose of the City’s Sign Code was

to “reflect and support the desired character” of the City in order to “promote an attractive

environment.” Id. at 17 (citing Code Section 24-1). The Court found the City’s interest in

aesthetics compelling in this case, “where the government asserting that interest has a mission or

focus based on aesthetics.” Id. at 17–18 (discussing Shavano Park’s “central focus on its

appearance, beauty, and charm”). Finally, the Court found the banner sign limitation narrowly

tailored to that interest because the Sign Code prohibits almost all banner signs that harm the

City’s compelling interest, with a mere one-week exception. Id. at 18. For those reasons, the

Court entered summary judgment in favor of the City. Id. at 19. A final judgment in favor of the

City was entered that same day. ECF No. 45. Plaintiff now brings this motion to alter or amend

the judgment pursuant to Federal Rule of Civil Procedure 59(e).




                                                    4
          Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 5 of 8




                                         DISCUSSION

   I.      Legal Standards

        Federal Rule of Civil Procedure 59(e) allows a court “to prevent a manifest injustice” by

altering or amending a judgment upon a timely motion. FED. R. CIV. P. 59(e); Schiller v.

Physicians Res. Grp., Inc., 342 F.3d 563, 567 (5th Cir. 2003). Altering or amending a judgment

under Rule 59(e) “is appropriate (1) where there has been an intervening change in the

controlling law; (2) where the movant presents newly discovered evidence that was previously

unavailable; or (3) to correct a manifest error of law or fact.” Demahy v. Schwarz Pharma, Inc.,

702 F.3d 177, 182 (5th Cir. 2012). Plaintiff here urges only the third ground: that the Court’s

previous order was manifestly erroneous. “Manifest error is one that ‘is plain and indisputable,

and that amounts to a complete disregard of the controlling law.’” Guy v. Crown Equip. Corp.,

394 F.3d 320, 325 (5th Cir. 2004); see also Lyles v. Medtronic Sofamor Danek, USA, Inc., 871

F.3d 305, 311 (5th Cir. 2017), cert. denied, 138 S. Ct. 1037 (2018).

        A Rule 59(e) motion “cannot be used to raise arguments which could, and should, have

been made before the judgment issues.” Rosenzweig v. Azurix Corp., 332 F.3d 854, 863 (5th Cir.

2003) (citing Simon v. United States, 891 F.2d 1154, 1159 (5th Cir. 1990). Nor can it be used to

“relitigate old matters” that have already been resolved. Exxon Shipping Co. v. Baker, 554 U.S.

471, 485 n.5 (2008) (quoting 11 C. WRIGHT & A. MILLER, FEDERAL PRACTICE AND PROCEDURE §

2810.1 (2d ed. 1995)); see also Templet v. HydroChem, Inc., 367 F.3d 473, 479 (5th Cir. 2004)

(“[S]uch a motion is not the proper vehicle for rehashing evidence, legal theories, or arguments

that could have been offered or raised before the entry of judgment.”). A Rule 59(e) motion

“calls into question the correctness of a judgment” and “is an extraordinary remedy that should

be used sparingly.” Id. at 478–79 (internal citations omitted). “A district court has considerable



                                                5
            Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 6 of 8




discretion in deciding whether to grant or deny a motion to alter a judgment,” and “must strike

the proper balance between the need for finality and the need to render just decisions on the basis

of all the facts.” Hale v. Townley, 45 F.3d 914, 921 (5th Cir. 1995). Though a court must

consider these competing interests, Rule 59(e) favors the denial of a motion to alter or amend a

judgment. S. Constructors Grp., Inc. v. Dynalectric Co., 2 F.3d 606, 611 (5th Cir. 1993).

    II.      Analysis

          Plaintiff argues that the Court’s order granting summary judgment in favor of the City

was manifestly erroneous because the banner sign limitation is not narrowly tailored to serve the

City’s interest in aesthetics.7 The Court, according to Plaintiff “misconstrue[d] the tailoring

analysis.” ECF No. 46 at 3. Plaintiff argues “not only must [the City] justify how banner signs

harm the City’s aesthetics more than other types of signs, it must also show how banner signs

placed outside of the week of National Night Out are more harmful to aesthetics than signs

during the permitted period.” Id.

          First, Plaintiff claims that to survive a narrow tailoring analysis, the City “must defend

distinctions in the speech-restrictive law, explaining why limiting speech of certain types or

during certain periods of time furthers the asserted interest, while other speech may remain

unrestricted.” Id. at 4 (citing Wagner v. City of Garfield Heights, 675 F. App’x 599, 607 (6th

Cir. 2017)). Plaintiff cites to Zimmerman v. City of Austin for the proposition that “temporal

restrictions on speech require the government prove that the temporal parameters actually further

the asserted interest.” ECF No. 46 at 4 (citing Zimmerman v. City of Austin, Texas, 881 F.3d

378, 392-93 (5th Cir. 2018), cert. denied, 139 S.Ct. 639). Plaintiff believes that “because the

City has not—and cannot—explain how a banner sign displayed…in July does any more damage

7
  Although Plaintiff “disputes that the City has met its burden of establishing that aesthetics, traffic safety, or any
other interest qualifies as ‘compelling,’” she does not argue that the Court’s finding that the City had in fact
established a compelling government interest was manifestly erroneous. ECF No. 46 at 3.

                                                          6
          Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 7 of 8




to the City’s aesthetics than a banner sign displayed for the same limited time in October,” the

banner sign limitation must fail strict scrutiny. ECF No. 46 at 5.

       This is nothing more than a regurgitation of arguments Plaintiff already raised at the

summary judgment phase, which the Court has already rejected. See ECF No. 31 at 19–21

(arguing the Sign Code is not narrowly tailored). In its order granting summary judgment, the

Court found that “[i]f the City believes banner signs damage its interest in the aesthetics of its

community and prohibits such signs for 51 weeks out of the year, then the restriction can hardly

be more narrowly drawn.” ECF No. 44 at 18. As the Court explained, the banner sign limitation

is unlike that discussed by the Supreme Court in Reed; whereas the code at issue in Reed allowed

many other types of signs that posed a threat to the governmental interest in safety, the City’s

code leaves open a mere one-week window where banner signs are allowed. Id. The one-week

exception to the City’s banner sign limitation does not leave open the type of “appreciable

damage” to the City’s interests in aesthetics that was fatal in Reed. Plaintiff’s disagreement with

this Court’s holding does not constitute “plain and indisputable” error “that amounts to a

complete disregard of the controlling law” so as to justify altering or amending the judgment.

See Crown Equip. Corp., 394 F.3d at 325. Plaintiff’s present motion merely rehashes arguments

with additional citations to inapposite case law that could have been raised before judgment was

entered. See Templet, 367 F.3d at 479 (“A Rule 59(e) motion…is not the proper vehicle for

rehashing evidence, legal theories, or arguments that could have been offered or raised before the

entry of judgment.”). The Court declines to alter or amend its judgment on this basis.

       Next, Plaintiff argues that the banner sign limitation’s “speaker-based restriction” is not

narrowly tailored and fails strict scrutiny. ECF No. 46 at 6. According to Plaintiff, because the

Sign Code allows only homeowners’ associations to place a banner at an entrance to a



                                                 7
          Case 5:18-cv-00803-XR Document 49 Filed 04/29/20 Page 8 of 8




neighborhood, and only property owners to place banner signs in their yard during the allowed

time period in October, the Code discriminates based on speaker. Plaintiff argues “[t]here are

neighborhoods in Shavano Park not represented by an HOA” and that “a renter or any

organization/entity that is not a property owners’ association would face criminal sanction for

placing a banner sign that would be legal if placed by another category of speaker.” ECF No. 46

at 7. Plaintiff lacks standing to raise arguments about the restricted speech of renters or residents

who live in a non-HOA controlled neighborhood, because she is neither. Plaintiff did not allege

harm caused by the speaker-based restrictions. The injury she did raise—the removal of her

signs pursuant to the City’s prohibition on bandit signs and banner signs—would not be

redressed by addressing any speaker-based restrictions in the Sign Code. Accordingly, the Court

will not consider these arguments as a basis to alter or amend the judgment. See Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (describing the “constitutional minimum of

standing” as requiring (1) “injury in fact,” (2) “a causal connection between the injury and the

conduct complained of,” and (3) “it must be ‘likely,’ as opposed to merely ‘speculative,’ that the

injury will be ‘redressed by a favorable decision.’”) (quoting Simon v. Eastern Ky. Welfare

Rights Organization, 426 U.S. 26, 38 (1976)).

                                         CONCLUSION

       For the reasons stated herein, Plaintiff’s Motion to Alter or Amend Judgment (ECF No.

46) is DENIED.

       It is so ORDERED.

       SIGNED this 29th day of April, 2020.




                                              XAVIER RODRIGUEZ
                                              UNITED STATES DISTRICT JUDGE

                                                 8
